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UNITED sTATEs DISTRICT CoURT JUN 1 5 2016
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EL noRAno DIVISION By ’
owen
MARCUS FURLOW
Plaintiff,
v_ CivnJ ACTION No. i (U _i©$\|i
CREDIT oNE FINANCIAL
dfb/a Credit One Bank
Defendant.
PLAINTIFF’s CoMPLAINT

 

Plaintiff, MARCUS FURLOW (“Plaintiff”), through his attorneys, alleges the following

against Defendant, CREDIT ONE FINANCIAL d/b/a Credit One Bank (“Defendant”):

lNTRODUCTION
l. This action is brought by Plaintiff pursuant to the Telephone Consunier Protection
Aet (“TCPA”), 47 U.S.C. § 227 et seq-
JURISDICTION AND VENUE
2. This Court has subject matter jurisdiction of this action pursuant to 47 U.S.C. §

227(b)(3) and 28 U.S.C. § 1331.

3. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the acts giving rise to
Plaintift’s cause of action occurred in this district as Plaintiff resides in this district and as Defendant
transacts business in this district

PARTlES

4. Plaintiff is a natural person Who at times relevant resided in Strong, Arkansas

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5 . Defendant is a business entity with an office located at 5 85 Pilot Road, Las Vegas,
Nevada 891 19.

6. Defendant acted though its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

FACTUAL ALLEGATIONS

7. Defendant places telephone calls to phone number _ Plaintifi’ s
cellular telephone number.

8. These calls Were placed for non-emergency purposes.

9. Upon information and good faith belief, and in light of the frequency, number,
nature, and character of these calls, Defendant placed them by using an automatic telephone dialing
system.

10. On June 6J 2015J Plaintiff instructed Defendant to stop calling him.

ll. Plaintiff revoked any consent, actual or implied, for Defendant to use an automatic
telephone dialing system to call his cell phone,

12. Defendant continued to use an automatic telephone dialing system to call Plaintiffs
cell phone.

13. Since June 6, 2015 Defendant called Plaintiff's cell phone at least forty-nine (49)
times.

14. Defendant’s called Plaintiff upwards of four (4) times in a single day.

15 . Plaintiff is annoyed and feels harassed by Defendant's calls to his cell phones.

16. Defendant placed these calls voluntarily

17. Defendant placed these calls under its own free Will.

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l 8. Defendant had knowledge that it was using an automatic telephone dialing system to
place these calls.
19. Defendant intended to use an automatic telephone dialing system to place these calls.

COUNT I
DEFENDANT VIOLATED TI-IE TELEPHONE CONSUMER PROTECTION ACT

20_ Defendant’s actions alleged supra constitute numerous negligent violations of the
TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation
pursuant to 47 U.S.C. § 227(b)(3)(B).

21. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or
willful violates of the TCPA, entitling Plaintiff to an award of 31500.00 in statutory damages for
each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

WHEREFORE, Plai_ntiff prays that judgment be entered against Defendant for the
following:

22- Statutory damages of $500.00 for each and every negligent violation of the TCPA
pursuant to 47 U.S.C. § (b)(?s)(B);

23. Statutory damages of $1500.00 for each and every knowing and/or willful violation of
the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

24. A.ll court costs, witness fees and other fees incurred; and

25. Any other relief that this Honorable Court deems appropriate

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Dated: June 6, 2016

 

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